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Telephone




                            IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF ALASKA



      (Enter full name otplaintiffin this action)
                                                                      Case No. ~ ',        \'t. "" C..V- 00 I~ &,. 4)L~
                                      Plaintiff,                                           (To be supplied by Court)
vs.
                                                                                  PRISONER'S
                                                                              COMPLAINT UNDER
                                                                             THE CIVIL RIGHTS ACT
                                                                                 42 u.s.c. § 1983




                                      Defendant(s).

A. Jurisdiction

Jurisdiction is invoked under 28 U.S.C. § 1343(a)(3).

B. Parties

1. Plaintiff: This complaint alleges that the civil rights of               Fi-t::zt-1 C" tS 2           ~&pr ,
                                 >'f!!n1J C-82k._ f.co-ee /-;~ (}""..,/!r                 (printyournale)
who presently resides at ___,\e'-42~                AI(          Cj'f'GI,tf                                            , were
                                                    (mailing address or place of confinement)
violated by the actions of the below named individual(s).

                                                                                                              Prisoner§ 1983
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    2. Defendants (Make a copy of this page and provide same information ifyou are naming more than 3 defendants):

              /Jrdyce -ri&rf~Rr
    DefendantNo.l,                                          ,isacitizenof
    rJ? If{_    .IL"            (name) of?h'c oF' Ch '/k_r1 S::r:V~'aJ
     pdjAL A=farLt:t ,andisemployedasa~k=~.,t £s;pcr'c.llfeel-:.;.t 9'l-v1'aJ 1
                (state)                                                 (defendant's government position/title)


~This defendant personally participated in causing my injury, and I want money damages.
'   ~-The policy or custom of this official's government agency violates my rights, and I seek
~tive relief (tos:oporrequ~ne do something).
    Defendant No.2,         ~                                                                           , is a citizen of
                                                         (name)
    _____________________,andisemployedas ___________________________________
                (state)                                                 (defendant's government position/title)


    _ _This defendant personally participated in causing my injury, and I want money damages.

    OR
    _ _The policy or custom of this official's government agency violates my rights, and I seek
    injunctive relief (to stop or require someone do something).

    Defendant No. 3'-------------------------------------------------' is a citizen of
                                                         (name)
    ______________________,andisemployedasa___________________________________
                (state)                                                 (defendant's government position/title)


    _ _This defendant personally participated in causing my injury, and I want money damages.

    OR
    _ _The policy or custom of this official's government agency violates my rights, and I seek
    injunctive relief (to stop or require someone do something).

                                       ***REMINDER***
          You must exhaust your administrative remedies before your claim can go fonvard.
                 THE COURT MAY DISMISS ANY UNEXHAUSTED CLAIMS.


    C. Causes of Action (You may attach additional pages alleging other causes of action and facts supporting them
    if necessary. Make copies of page 5 and rename them pages 5A, 5B, etc. and rename the claims," Claim 4," "Claim 5,
    etc.").


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Claim I: On or       about~- V~~ civil right to                                          c/;M ~ C{' 5.5
                                        (Date)                                    (Medical care, ace ss to the courts, due process,

freedom of religion, free speech, freedom of association, freedom from cruel and unusual punishment, etc. List only one violation.)




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       Claim 2: On or about          9/ ;2-ofll-.
                                               (Date)
                                                                  , my civil right to       :Dvc.'\.f ~ce ~)' ·~et:+J
                                                                                        (Medical care, access to the courts, due p cess,

       freedom of religion, free speech, freedom of association, freedom from cruel and unusual punishment, etc. List only one violation.)




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Claim 3: On or about          ~o/ )._                        ' my civil right to       dvL(l        ;/}z; a        ss
                                        (Date)                                     (Medical care, fccess to the courts, due process,


freedom of religion, free speech, freedom of association, freedom from cruel and unusual punishment, etc. List only one violation.)


Supporting Facts: (Briefly describe facts you consider important to Claim 3. State what happened
briefly and clearly, in your own words. DO NOT cite legal authority or argument. Be certain to
describe exactly what each defendant, by name, did to violate the right alleged in Claim 3 .)
                                     /'            -    ..




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D. Previous Lawsuits

1. Have you begun other lawsuits in state or federal court dealing with
in this action, or otherwise relating to your imprisonment? _ _ Yes
                                                                          ;x   same facts involved
                                                                                 No

2. If your answer is "Yes," describe each lawsuit.

a. Lawsuit 1:

Plaintiff(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Defendant(s):. _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Name and location of court: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




Docket number:                           Name of judge: _ _ _ _ _ _ _ _ _ _ _ _ __
                 ---------
Approximate date case was filed: _ _ _ _ _ _ __ Date offmal decision:. _ _ _ _ _ _ __

Disposition:     ___ Dismissed         ___ Appealed        _ __ Still pending

Issues Raised:
                 -------------------------------




b. Lawsuit 2:

Plaintiff(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Defendant(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



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Name and location of court:
                              ----------------------------------------------------


Docket number:                            Name of judge: _ _ _ _ _ _ _ _ _ _ _ _ _ __
                  -----------------
Approximate date case was filed: _______________ Date of fmal decision: _______________

Disposition:      ___ Dismissed          ___ Appealed          ___ Still pending

Issues Raised:
                 -------------------------------------------------------------




3. Have you filed an action in federal court that was dismissed because it was determined to be


               +
frivolous, malicious, or failed to state a claim upon which relief could be granted?

___Yes                No      If your answer is "Yes," describe each lawsuit.

Lawsuit #1 dismissed as frivolous, malicious, or failed to state a claim:

a. Defendant(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___

b. Name of federal court
                           --------------------------- Case number: ---------------
c. The case was dismissed as: _ _ frivolous, _ _ malicious and/or _ _ failed to state a claim

d. Issue(s) raised: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




e. Approximate date case was filed:______________ Date of final decision: ______________

Lawsuit #2 dismissed as frivolous, malicious, or failed to state a claim:

a. Defendant(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

b. Name of federal court
                           --------------------------- Case number: ---------------

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c. The case was dismissed as: _ _ frivolous, _ _ malicious and/or _ _ failed to state a claim

d. Issue(s) raised: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




e. Approximate date case was filed: _ _ _ _ _ _ _ Date of final decision: _ _ _ _ _ __

Lawsuit #3 dismissed as frivolous, malicious, or failed to state a claim:

a. Defendant(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

b. Name of federal court
                            --------------- Case number: - - - - - - - -
c. The case was dismissed as: _ _ frivolous, _ _ malicious and/or _ _ failed to state a claim

d. Issue(s) raised: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




e. Approximate date case was filed: _ _ _ _ _ __            Date of fmal decision: _ _ _ _ _ __

4. Are you in imminent danger of serious physical injury?           X    Yes _ _ _ No

If your answer is "Yes," please describe how you are in danger, without legal argument/authority:




F. Request for Relief

Plaintiff requests that this Court grant the following relief:

1. Damages in the amount of$     ..t fr1 i //t(;n        t:/o( /eJy.5
2. Punitive damages in the amount of$      J/n i 1/rbi-1 c:/o/(acr
3. An order requiring defendant(s) to   ~e "~ / ~ 4J
                                        t) :J LhrA h .
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  4. A declaration   thatZ>~J...,,-h Ju.we               IIi V   k.-/ecJ ~ ;r{J/r!J
  k .&e.  & L. 1~rr~h61 ..~Ji c~~'"""""'JF..
                             .c.                                        n.;J

 u.-dll J[<Rvtkx, ,d<,£,r4 .1.~ c; ,;(40!z;- .
  5. Other: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




  Plaintiff demands a trial by jury.   -f-           Yes _ _ _ No



                  DECLARATION UNDER PENALTY OF PERJURY

        The undersigned declares under penalty of perjury that s/he is the plaintiff in
  the above action, that s!he has read the above civil rights complaint and that the
  information contained in the complaint is true and correct.
             5/!~Jh Cn·ej( ~,er .J?~nJ ~-/&-
              ~ . ~ Jf>ol          .                ~/~ /
  Executed at ~..w---d /11( f / C C, 7'      on ---1-~-
                                                      //,-4't'f'--'-/_..2._ __
      }       ,                        (Locati,on)                               (Date)

~~~ -7'?                   «       4-L+<-e.-
                     CP;k?n.tlffs S1gnature)




  Original Signature of Attorney (if any)                                      (Date)




  Attorney's Address and Telephone Number




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